Case 2:19-cv-10890-SJM-APP ECF No. 120, PageID.3881 Filed 09/04/19 Page 1 of 21




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 THE HUNTINGTON NATIONAL                        )
 BANK, a National Banking Association,          )    Case No. 2:19-cv-10890
                                                )
        Plaintiff,                              )    Honorable Stephen J. Murphy, III
                                                )
 v.                                             )
                                                )
 SAKTHI AUTOMOTIVE GROUP                        )
 USA, INC., a Michigan corporation              )
 SAKTHI AMERICA CORPORATION,                    )
 a Michigan corporation, and SAKTHI             )
 REAL ESTATE HOLDINGS, INC., a                  )
 Michigan corporation,                          )

      Defendants.
 _____________________________________

      RECEIVER’S MOTION TO APPROVE BIDDING PROCEDURES AND
                  TO AUTHORIZE AN AUCTION SALE

        Kevin English of Lark Advisors LLC, the court-appointed receiver (the

 “Receiver”) in the above captioned proceeding of Defendants Sakthi Automotive

 Group USA, Inc., Sakthi America Corporation, and Sakthi Real Estate Holdings,

 Inc., (the “Defendants”), files this Motion to Approve Bidding Procedures and to

 Authorize an Auction Sale (the “Motion”), seeking authority to conduct an auction

 of a sale of the receivership assets, or if there are no overbids, a sale to the stalking

 horse bidder. In support of this Motion, the Receiver relies on his Brief in Support
Case 2:19-cv-10890-SJM-APP ECF No. 120, PageID.3882 Filed 09/04/19 Page 2 of 21




 which is attached hereto and incorporated herein by reference, and the other

 pleadings that have been filed in the above-captioned case.

                                  PRIOR REQUEST

       No prior motion for the relief requested herein has been made to this Court or

 any other Court.

       WHEREFORE, the Receiver requests that the Court grant the Motion and

 enter an order, substantially in the form attached hereto as Exhibit A, which states

 (i) the Motion is GRANTED; (ii) that the Receiver is authorized to sell the

 Receivership Assets at the auction free and clear of any and all liens and/or other

 interests in the Receivership Assets; (iii) that the Receiver is authorized and directed

 to pay the Plaintiff in full at the closing of the sale all obligations and indebtedness

 owed to the Plaintiff under (a) that certain Master Equipment Lease Agreement

 Number 57244, together with Leasing Schedule Nos. 57244-001, 002, 003, 004, 005,

 and 006, and (b) that certain Credit and Security Agreement dated as of October 30,

 2015, by and among the Plaintiff and the Defendants, as the same has been or may

 be amended, modified, or amended and restated from time to time; (iv) if there are

 no overbids, that the Receiver is authorized to close a sale of certain Receivership

 Assets to the stalking horse bidder; and (v) any other relief that this Court deems just

 and proper.




                                            2
Case 2:19-cv-10890-SJM-APP ECF No. 120, PageID.3883 Filed 09/04/19 Page 3 of 21




 Dated: September 4, 2019       Respectfully submitted,

                                THE DRAGICH LAW FIRM PLLC

                                 /s/ David G. Dragich__________
                                David G. Dragich (P63234)
                                Amanda C. Vintevoghel (P76567)
                                17000 Kercheval Ave, Suite 210
                                Grosse Pointe, MI 48230
                                Phone: (313) 886-4550
                                ddragich@dragichlaw.com
                                avintevoghel@dragichlaw.com

                                Counsel to Receiver Kevin English,
                                Lark Advisors LLC




                                       3
Case 2:19-cv-10890-SJM-APP ECF No. 120, PageID.3884 Filed 09/04/19 Page 4 of 21




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 THE HUNTINGTON NATIONAL                        )
 BANK, a National Banking Association,          )    Case No. 2:19-cv-10890
                                                )
       Plaintiff,                               )    Honorable Stephen J. Murphy, III
                                                )
 v.                                             )
                                                )
 SAKTHI AUTOMOTIVE GROUP                        )
 USA, INC., a Michigan corporation              )
 SAKTHI AMERICA CORPORATION,                    )
 a Michigan corporation, and SAKTHI             )
 REAL ESTATE HOLDINGS, INC., a                  )
 Michigan corporation,                          )

      Defendants.
 _____________________________________

 BRIEF IN SUPPORT OF RECEIVER’S MOTION TO APPROVE BIDDING
       PROCEDURES AND TO AUTHORIZE AN AUCTION SALE

       Kevin English of Lark Advisors LLC, the court-appointed receiver (the

 “Receiver”) in the above captioned proceeding of Defendants Sakthi Automotive

 Group USA, Inc., Sakthi America Corporation, and Sakthi Real Estate Holdings,

 Inc. (the “Defendants”), submits this brief in support of the Motion to Approve

 Bidding Procedures and to Authorize an Auction Sale (the “Motion”), seeking

 authority to conduct an auction of a sale of the receivership assets, or if there are no

 overbids, a sale to the stalking horse bidder. In support thereof, the Receiver states

 as follows:


                                            1
Case 2:19-cv-10890-SJM-APP ECF No. 120, PageID.3885 Filed 09/04/19 Page 5 of 21




                                      BACKGROUND

        On March 27, 2019, Huntington National Bank (the “Plaintiff” or the “Bank”)

 filed its Complaint [Docket No. 1] (the “Complaint”) against Sakthi Automotive

 Group USA, Inc. (“SAGUSA”), Sakthi America Corporation (“SAC”), and Sakthi

 Real Estate Holdings, Inc. (“SREH,” and along with SAGUSA and SAC, collectively

 the “Defendants” or the “Makers”), for breach of contract, seeking the appointment

 of a receiver and for other related relief.

        On June 20, 2019, this Court entered its Order Appointing Receiver [Docket

 No. 79] (the “Receivership Order”) appointing the Receiver to take control of the

 Receivership Assets1 and manage the Facilities. Pursuant to the Receivership Order,

 the Receiver is authorized to “to market and sell the Receivership Assets...free and

 clear of all claims, liens, and encumbrances…after notice to all parties having a lien

 on the Receivership Assets and any other party entering an appearance…and after a

 motion and approval by the Court of sale procedures and of sale….” Receivership

 Order, ¶ 3(h).

        Since his appointment, the Receiver has and continues to analyze and confer

 with the Plaintiff and other parties-in-interest regarding the Defendants’ business

 operations and the sale the Receivership Assets. Prior to the filing of this Motion,



 1
  Capitalized terms not herein defined shall have the meanings ascribed to them in the
 Receivership Order.
                                                2
Case 2:19-cv-10890-SJM-APP ECF No. 120, PageID.3886 Filed 09/04/19 Page 6 of 21




 the Receiver began marketing efforts to sell the Receivership Assets to maximize

 the value of the receivership estate for the benefit of its creditors. The Receiver

 seeks to sell the Defendants’ business as a going concern to maximize value for

 creditors, to preserve jobs in the automotive industry and to ensure the continuity of

 supply to the Defendants’ customers. In addition, prior to the Bid Deadline (defined

 below), the Receiver will continue these marketing efforts, contacting strategic and

 financial prospective purchasers to maximize value.

       The Receiver has also conferred with his counsel, and other parties-in-interest

 in the case regarding the best method to sell the Defendants’ business or the

 Receivership Assets. The Receiver has determined that the highest and best value

 to be obtained for the benefit of all stakeholders would be achieved by conducting a

 public sale of the Receivership Assets.

        As of this filing, the Receiver has received an offer to purchase the

 Defendants’ assets and businesses as a going concern from AAPICO Hitech Public

 Company Limited (“AAPICO”). AAPICO and the Receiver have engaged in arms-

 length, good faith negotiations regarding the terms of any potential sale. As a result

 of these negotiations, the Receiver and AAPICO have entered into a proposed

 purchase agreement (the “Stalking Horse Purchase Agreement”), attached hereto as

 Exhibit B, which is subject to this Court’s approval, as well as any higher or better

 offers as detailed below.


                                           3
Case 2:19-cv-10890-SJM-APP ECF No. 120, PageID.3887 Filed 09/04/19 Page 7 of 21




        As detailed in the Stalking Horse Purchase Agreement, AAPICO’s purchase

 price consists of (i) the assumption at Closing of the Assumed Liabilities and

 payment of the Cash Consideration (both as defined therein), plus (iii) a credit bid

 (the “Credit Bid”) of AAPICO’s Secured Obligations (as defined therein), totaling

 at least $100,115,904.22 as of the date of this filing, and (iv) the payment of the Post-

 Closing Budget Amount (as defined below) (the “Purchase Price”). See Stalking

 Horse Purchase Agreement, § 3.1, Schedule 3.1. The Assumed Liabilities2 include

 the following:

        (i) Detroit Investment Fund - $4,166,664

        (ii) Hitachi Capital - $1,250,000

        (iii) Punjab National Bank - $4,463,747

        (iv) Huron Valley National Bank - $1,253,454

        (v) First Independent Bank - $2,213,528

        (vi) Bangkok Bank - $20,312,666

        (vii) General Motors - $12,245,507

        (viii) Vigel SPA - $4,035,459

        (ix) First Independence (Capital Lease) - $105,933

        (x) Fessler & Bowman - $569,902.22


 2
   The amounts set forth herein for the Assumed Liabilities are based on the Receiver’s books and
 records as of August 26, 2019. The Receiver will work with all necessary parties to make sure
 the amounts reflected are accurate.
                                                4
Case 2:19-cv-10890-SJM-APP ECF No. 120, PageID.3888 Filed 09/04/19 Page 8 of 21




       The Stalking Horse Purchase Agreement constitutes an agreement to purchase

 all of the Receivership Assets, except for the Excluded Assets (as defined in the

 Stalking Horse Purchase Agreement). See Stalking Horse Purchase Agreement, §

 2.2. The Receivership Assets that are being purchased pursuant to the Stalking

 Horse Purchase Agreement are collectively referred to as the “Purchased Assets.”

 Further, AAPICO intends to reach an agreement with all lease equipment

 lienholders, to either return the leased equipment or resume payments under the

 terms of such agreements, provided, however, the Plaintiff shall be paid in full all

 amounts owed to it under that certain Master Equipment Lease Agreement Number

 57244, together with Leasing Schedule Nos. 57244-001, 002, 003, 004, 005, and

 006, and that certain Credit and Security Agreement dated as of October 30, 2015,

 by and among the Plaintiff and the Defendants, at the closing of the sale.

       Further, pursuant to the Stalking Horse Purchase Agreement, AAPICO

 intends to assume the collective bargaining agreement and other obligations related

 to the employees of the Defendants as set forth therein.

       By this Motion, the Receiver seeks this Court’s approval of the sale of the

 Receivership Assets by an auction (“Auction”) consistent with the procedures

 discussed below, or if there are no overbids, approval of a sale to AAPICO as the

 Stalking Horse Bidder (defined below). The Receiver is seeking to complete the

 sale prior to October 15, 2019, or as soon as possible. If the Auction is not completed


                                           5
Case 2:19-cv-10890-SJM-APP ECF No. 120, PageID.3889 Filed 09/04/19 Page 9 of 21




 consistent with the timeline proposed below, the Receivership Estate will have

 insufficient funds to operate and complete a sale of the Receivership Assets.

                                    ARGUMENT

 A.    Applicable Law

       It is well settled that a receiver has the authority to sell or otherwise dispose

 of property of the receivership estate. See Jones v. Village of Proctorville, 290 F.2d

 49, 50 (6th Cir. 1961). The sale of property of the receivership estate is governed by

 sections 2001 through 2004 of tile 28 of the United States Code (“U.S.C.”). In

 particular, 28 U.S.C. § 2004 governs the sale of personal property of a receivership

 estate. Section 2004 states that “[a]ny personalty sold under any order or decree of

 any court of the United States shall be sold in accordance with section 2001 of this

 title, unless the court orders otherwise.” 28 U.S.C. § 2004. Section 2001 provides

 that any property of a receivership estate shall be sold by public sale upon the

 “terms and conditions as the court directs”. 28 U.S.C. § 2001(a). The Court is given

 wide discretion in terms of approving a sale of personal property under § 2004 if

 such sale will maximize the proceeds from the sale. See U.S. v. Stonehill, 83 F.3d

 1156 (9th Cir. 1996).

       Further, the goal of any receivership estate should be to obtain the highest and

 best offer for the assets. Fleet Nat’l Bank v. H & D Entm’t, Inc., 926 F. Supp. 226,

 239-40 (D.C. Mass. 1996) (citing Jackson v. Smith, 254 U.S. 586 (1921)).


                                           6
Case 2:19-cv-10890-SJM-APP ECF No. 120, PageID.3890 Filed 09/04/19 Page 10 of 21




 Additionally, courts are in agreement that a receiver’s business judgement is entitled

 to “great judicial deference.” See Golden Pac. Bancorp. v. F.D.I.C., 2002 WL

 31875395 (S.D.N.Y. 2002); aff’d sub nom, Golden Pac. Bancorp. v. F.D.I.C., 375

 F.3d 196 (2nd Cir. 2004). Additionally, as noted above, the Receiver is authorized

 “to market and sell the Receivership Assets…free and clear of all claims, liens, and

 encumbrances….” Receivership Order, ¶ 3(h). The Receiver is also authorized to

 “execute, deliver, and perform all documents, instruments, and agreements

 necessary to effectuate and carry out the terms of this [Receivership] Order as the

 Receiver determines in his business judgment….” Receivership Order, ¶ 3(q). The

 Receiver has consulted with the Bank, and the Bank supports the Auction and the

 Stalking Horse Purchase Agreement. The Receiver has also been in regular contact

 with the Defendants’ customers and other parties-in-interest who the Receiver

 believes support the sale to AAPICO and the Stalking Horse Purchase Agreement.

       As noted herein, the Receiver has spent substantial time assessing the business

 operations of the Defendants and the value of the Receivership Assets. The Receiver

 has determined that a going concern sale of the Receivership Assets is in the best

 interest of the Defendants’ creditors, customers, and other parties in interest. The

 Receiver has also determined that conducting an auction is the best method to

 maximize value. Additionally, the Receiver intends to pay all outstanding real estate

 and personal property taxes incurred prior to the Closing Date (as defined below),


                                           7
Case 2:19-cv-10890-SJM-APP ECF No. 120, PageID.3891 Filed 09/04/19 Page 11 of 21




 as set forth in a budget agreed to by the Receiver and AAPICO, on the Purchased

 Assets upon receipt of the sale proceeds. Therefore, the sale to AAPICO, subject to

 higher and better offers, is the best resolution.

 B.    Stalking Horse Bid

       AAPICO shall serve as the “Stalking Horse Bidder” throughout the proposed

 sale, according to the terms set forth in the Stalking Horse Purchase Agreement (the

 “Stalking Horse Bid”), which shall be subject to higher or better offers received on

 or before the Bid Deadline (defined below). The Receiver believes that the offer

 contained in the Stalking Horse Bid is the highest and best offer for the Receivership

 Assets at this time.

 C.    Bidding Procedures for Auction

       The Receiver believes that the following Bidding Procedures are appropriate

 for this transaction, and requests entry of an order confirming the following

 procedures (the “Bidding Procedures”) as set forth herein:

       a.     Definition of Qualified Bidder. AAPICO shall be a Qualified Bidder.

 Unless otherwise ordered by the Court for cause shown, any other potential bidder

 shall become a “Qualified Bidder” only if the potential bidder delivers to the

 Receiver by no later than 4:00 p.m. (prevailing Eastern Time) on September 30, 2019

 (the “Bid Deadline”) to The Dragich Law Firm PLLC, 17000 Kercheval Ave., Suite

 210, Grosse Pointe, 48230 the following:


                                             8
Case 2:19-cv-10890-SJM-APP ECF No. 120, PageID.3892 Filed 09/04/19 Page 12 of 21




             i.     A completed purchase agreement, substantially in the
                    same form as the Stalking Horse Purchase Agreement, but
                    reflecting an increase in the consideration for a total of
                    $1,000,000.00 more than the Purchase Price, the Break-
                    Up Fee, and Expense Reimbursement (as defined in the
                    Stalking Horse Purchase Agreement), attached hereto as
                    Exhibit B. Such agreement shall include no financing
                    contingencies and shall not be on terms worse than the
                    Stalking Horse Purchase Agreement, as determined by the
                    Receiver in his sole discretion, and shall include a cash
                    component of the purchase price to pay (1) the Plaintiff in
                    full at the closing of the sale all obligations and
                    indebtedness owed to the Plaintiff under (a) that certain
                    Master Equipment Lease Agreement Number 57244,
                    together with Leasing Schedule Nos. 57244-001, 002, 003,
                    004, 005, and 006, and (b) that certain Credit and Security
                    Agreement dated as of October 30, 2015, by and among
                    the Plaintiff and the Defendants, as the same has been or
                    may be amended, modified, or amended and restated from
                    time to time, and (2) the Credit Bid Amount, the Break-
                    Up Fee, and the Expense Reimbursement.

             ii.    Financial disclosures, including bank statements or other
                    proof of funds and other information acceptable to the
                    Receiver to demonstrate such potential bidder’s financial
                    and other abilities to consummate a sale with respect to
                    any expected bid higher than the Stalking Horse Bid.

             iii.   A certified check or funds in an amount equal to ten
                    percent (10%) of the purchase price (the “Good Faith
                    Deposit”) to be held in a non-interest bearing trust account
                    by the Receiver and shall be subject to the jurisdiction of
                    this Court. If a sale is ultimately consummated with the
                    Qualified Bidder, the Good Faith Deposit will be applied
                    to the purchase price.

             iv.    Fully disclose the identity of each entity that will be
                    bidding in the Auction, including, without limitation, the
                    identity of any control parties of such Qualified Bidder.


                                          9
Case 2:19-cv-10890-SJM-APP ECF No. 120, PageID.3893 Filed 09/04/19 Page 13 of 21




       b.    Due Diligence. The Receiver is not responsible for, and will bear no

 liability with respect to, any information obtained by any Qualified Bidder in

 connection with the sale of the Receivership Assets.

       c.    Auction.

             i.     If there is at least one Qualified Bidder other than AAPICO, the
                    Receiver shall conduct an auction (the “Auction”) for the sale of
                    the Receivership Assets. The Auction shall commence at 2:00
                    p.m. on October 2, 2019 (the “Auction Date”) at the offices of
                    The Dragich Law Firm PLLC, 17000 Kercheval Ave., Suite 210,
                    Grosse Pointe, 48230 or such other location selected by the
                    Receiver with notice to Qualified Bidders. The Receiver shall
                    notify all Qualified Bidders of the time and place of the Auction.
                    Only the Plaintiff, Qualified Bidders and holders of liens in the
                    Purchased Assets may attend the Auction. Only Qualified
                    Bidders shall be eligible to bid and participate at the Auction.

             ii.    The initial bid at the Auction shall equal or exceed the minimum
                    overbid amount. The “Minimum Overbid Amount” shall
                    provide for a cash purchase price equal the sum of the Purchase
                    Price, the Expense Reimbursement Amount, the Break-Up Fee,
                    and the initial overbid of $1,000,000. Any subsequent bid must
                    increase consideration in an amount to be determined by the
                    Receiver (the “Bid Increment”). The Minimum Overbid Amount
                    will be determined by the Receiver at the Auction.

             iii.   At the Auction, the Receiver shall receive bids based upon the
                    form of the Stalking Horse Purchase Agreement attached as
                    Exhibit B hereto, subject to any Bid Increment established in
                    connection with these procedures. If, at the Auction, the Receiver
                    determines in his business judgment that the Bid Increment does
                    not facilitate bidding or does not reduce the administrative costs
                    associated with the Auction process, the Receiver may establish
                    a new Bid Increment or determine that a pre-existing Bid
                    Increment no longer applies. Qualified Bidders may submit as


                                         10
Case 2:19-cv-10890-SJM-APP ECF No. 120, PageID.3894 Filed 09/04/19 Page 14 of 21




                     many bids as they desire, but no bids may be revoked once
                     submitted, except as otherwise provided herein.

              iv.    The Receiver may conduct the Auction without the assistance of
                     a separately retained auctioneer. The Auction shall be conducted
                     by the Receiver in a manner calculated by the Receiver in his
                     sole discretion to achieve the higher and/or best offer for the
                     Assets.

              v.     Upon conclusion of the bidding, the Auction shall be closed. The
                     Receiver shall immediately determine the highest and best bid
                     (the “Successful Bid”) on the basis of the consideration offered
                     and the financial commitment of the Qualified Bidder and
                     certainty of consummating the sale, and the Successful Bid shall
                     be memorialized and accepted by the immediate execution of a
                     purchase agreement substantially in the form of Exhibit B
                     hereto, with the consideration changed to reflect the amount of
                     the Successful Bid at the Auction.

       d.     Closing. Unless otherwise ordered by the Court, closing on the sale of

 the Receivership Assets shall occur on a date selected by the Receiver after the

 Auction Date, but according to the Stalking Horse Purchase Agreement, no later than

 October 15, 2019 by 5:00 p.m., at the offices of Jones Day, 150 West Jefferson

 Avenue, Suite 2100, Detroit, Michigan, or such other place or time as shall be agreed

 upon by the Successful Bidder and the Receiver (the “Closing Date”). In the event

 the Successful Bidder fails to close the sale of the Receivership Assets on the Closing

 Date, the Receiver may notify the party that asserted the next highest or otherwise

 best offer for the Receivership Assets that its bid has become the Successful Bid (the

 “New Successful Bid”). Closing on the New Successful Bid shall occur as soon as

 possible following such notice, on a date reasonably selected by the Receiver. This
                                           11
Case 2:19-cv-10890-SJM-APP ECF No. 120, PageID.3895 Filed 09/04/19 Page 15 of 21




 process shall continue until the sale of the Receivership Assets has closed. If there

 are no qualified bids other than the Stalking Horse Bid, the Closing shall take place

 with AAPICO pursuant to the Stalking Horse Purchase Agreement on or before

 October 15, 2019.

       e.     Break-Up Fee. If a closing of a sale of the Purchased Assets is

 consummated with a purchaser other than AAPICO, the Stalking Horse Purchase

 Agreement provides that, subject to approval of this Court, the Receiver will pay

 AAPICO a Break-Up Fee for lost opportunity costs as well as actual and projected

 out-of-pocket expenses incurred in connection with the tender of its offer, in the

 amount of $1,000,000.00 for the Break-Up Fee and up to $1,000,000 for the

 reimbursement of expenses to be paid at the Closing of the sale of the Purchased

 Assets from the sale proceeds.

       f.     Escrow of the Good Faith Deposits. Unless otherwise agreed to by

 the Receiver, the Good Faith Deposits of all Qualified Bidders shall be held in a

 segregated escrow account until the Closing of the sale of the Assets. If a Successful

 Bidder fails to consummate an approved sale because of a breach or failure to

 perform on the part of such Successful Bidder, the Receiver shall be entitled to retain

 the Good Faith Deposit as liquidated damages resulting from the breach or failure to

 perform by the Successful Bidder. The Receiver shall be entitled to return the Good

 Faith Deposits of any Qualified Bidders who do not become the Successful Bidder


                                           12
Case 2:19-cv-10890-SJM-APP ECF No. 120, PageID.3896 Filed 09/04/19 Page 16 of 21




 after Closing of the sale of the Receivership Assets without further order of the

 Court.

          g. Post-Closing Budget and Post-Closing Budget Amount. Prior to the

 Closing, the Receiver and APPICO, or other Successful Bidder, shall agree on an

 acceptable budget for the funds necessary for the Receiver to wind-down and close

 the receivership case after the Closing (the “Post-Closing Budget”). Immediately

 after the Closing and without further Court order, the Receiver may retain an amount

 as agreed to in the Post-Closing Budget for payment of the Receiver’s fees and costs

 and those fees and costs of the Receiver’s retained professionals, incurred

 subsequent to the Closing (the “Post-Closing Budget Amount”).              Any funds

 disbursed from the Post-Closing Budget Amount to the Receiver and the Receiver’s

 retained professionals must be first approved by this Court according to the

 procedures set forth in section 6 of the Receivership Order.

          f. The Huntington National Bank Payments. At Closing, a portion of the

 cash proceeds of the sale shall be paid to the Plaintiff to pay in full the Defendants’

 and the Receivers’ obligations and indebtedness owed to the Plaintiff under (i) that

 certain Master Equipment Lease Agreement Number 57244, together with Leasing

 Schedule Nos. 57244-001, 002, 003, 004, 005, and 006, and (ii) that certain Credit

 and Security Agreement dated as of October 30, 2015, by and among the Plaintiff




                                           13
Case 2:19-cv-10890-SJM-APP ECF No. 120, PageID.3897 Filed 09/04/19 Page 17 of 21




 and the Defendants, as the same has been or may be amended, modified, or amended

 and restated from time to time.

       The Receiver believes the Stalking Horse Bid is the highest and best offer of

 the Purchased Assets. Therefore, a sale to AAPICO, or in the alternative, the

 Successful Bidder if there is one, is in the best interest of the Defendants’ creditors.

 Additionally, any such sale will be free and clear of any and all liens, claims,

 encumbrances and/or other interests. Further, the holder of any such lien, claim,

 encumbrance can be adequately protected by having its respective lien, claim, or

 encumbrance transferred to the proceeds of sale with the same priority, validity,

 force, and effect as existed with respect to the Receivership Assets immediately prior

 to such sale.

                                       NOTICE

       The Receiver intends to notify all interested parties, including all purported

 lienholders and taxing authorities, of this Motion and the Stalking Horse Bid

 received from AAPICO prior to any hearing scheduled for this Motion to afford all

 parties an opportunity to be heard. The Notice of Auction and Sale of Receivership

 Assets, attached hereto as Exhibit C, will also be served on all potential bidders no

 later than two business days after the Court enters an order approving the Motion to

 ensure that all parties have adequate time to bid on the Receivership Assets.

 Additionally, the Notice of Auction and Sale of Receivership Assets provides that


                                           14
Case 2:19-cv-10890-SJM-APP ECF No. 120, PageID.3898 Filed 09/04/19 Page 18 of 21




 any objections to the Auction contemplated herein must be filed with this Court by

 October 4, 2019, and also served on the attorney for the Receiver and the Stalking

 Horse Bidder.

                                  CONCLUSION

       WHEREFORE, the Receiver requests that the Court enter an order,

 substantially in the form of Exhibit A, approving the sale of the Receivership Assets

 at the auction free and clear of any and all liens and/or other interests in the

 Receivership Assets with any such liens or interests attach to the proceeds of the

 sale; if there by no overbids, the Purchased Assets shall be sold to AAPICO in

 accordance with the Stalking Horse Purchase Agreement; and authorizing and

 directing the Receiver to pay the Plaintiff in full at the Closing of the sale all

 obligations and indebtedness owed to the Plaintiff under (a) that certain Master

 Equipment Lease Agreement Number 57244, together with Leasing Schedule Nos.

 57244-001, 002, 003, 004, 005, and 006, and (b) that certain Credit and Security

 Agreement dated as of October 30, 2015, by and among the Plaintiff and the

 Defendants, as the same has been or may be amended, modified, or amended and

 restated from time to time.




                                          15
Case 2:19-cv-10890-SJM-APP ECF No. 120, PageID.3899 Filed 09/04/19 Page 19 of 21




 Dated: September 4, 2019         Respectfully submitted,

                                  THE DRAGICH LAW FIRM PLLC

                                   /s/ David G. Dragich__________
                                  David G. Dragich (P63234)
                                  Amanda C. Vintevoghel (P76567)
                                  17000 Kercheval Ave, Suite 210
                                  Grosse Pointe, MI 48230
                                  Phone: (313) 886-4550
                                  ddragich@dragichlaw.com
                                  avintevoghel@dragichlaw.com

                                  Counsel to Receiver Kevin English,
                                  Lark Advisors LLC




                                       16
Case 2:19-cv-10890-SJM-APP ECF No. 120, PageID.3900 Filed 09/04/19 Page 20 of 21




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 THE HUNTINGTON NATIONAL                                    )
 BANK, a National Banking Association,                      )     Case No. 2:19-cv-10890
                                                            )
           Plaintiff,                                       )     Honorable Stephen J. Murphy, III
                                                            )
 v.                                                         )
                                                            )
 SAKTHI AUTOMOTIVE GROUP                                    )
 USA, INC., a Michigan corporation                          )
 SAKTHI AMERICA CORPORATION,                                )
 a Michigan corporation, and SAKTHI                         )
 REAL ESTATE HOLDINGS, INC., a                              )
 Michigan corporation,                                      )

      Defendants.
 _____________________________________

                                   CERTIFICATE OF SERVICE
           I hereby certify that on September 4, 2019, the Motion to Approve Bidding

 Procedures and to Authorize an Auction Sale was filed electronically with the Clerk

 of Court using the Court’s ECF system and notice of this filing will be served on all

 parties of record. Notice of the same will also be served on all parties in interest in

 the case1 by U.S. First Class Mail or electronic mail, if applicable.




 1
     A list of all parties in interest that are served will be filed separately.
Case 2:19-cv-10890-SJM-APP ECF No. 120, PageID.3901 Filed 09/04/19 Page 21 of 21




 Dated: September 4, 2019         Respectfully submitted,

                                  THE DRAGICH LAW FIRM PLLC


                                   /s/ David G. Dragich__________
                                  David G. Dragich (P63234)
                                  Amanda C. Vintevoghel (P76567)
                                  17000 Kercheval Ave, Suite 210
                                  Grosse Pointe, MI 48230
                                  Phone: (313) 886-4550
                                  ddragich@dragichlaw.com
                                  avintevoghel@dragichlaw.com

                                  Counsel to Receiver Kevin English,
                                  Lark Advisors LLC




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